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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )                  Criminal No. 21-0626 (PLF)
                                    )
DEREK COOPER GUNBY,                 )
                                    )
            Defendant.              )
____________________________________)


                                               ORDER

               On August 1, 2022, the Court set forth the schedule for trial, which is scheduled

to begin on December 12, 2022. See August 1, 2022 Minute Entry. The Court further ordered

the parties to meet and confer and to file a joint status report proposing a schedule for all pretrial

motions – including any motions to dismiss the case, motions in limine, and Daubert motions –

and confirming whether the trial will be a bench trial or a jury trial. See id.

               On September 7, 2022, the parties filed a joint status report jointly proposing a

pretrial schedule, but they have not yet indicated whether the trial will be a bench trial or a jury

trial. See Joint Status Report [Dkt. No. 31]. After careful consideration of the parties’ proposed

schedule, the Court adopts some aspects of the parties’ joint proposed schedule but is unable to

accommodate others. Accordingly, it is hereby

               ORDERED that the pretrial proceedings in this case will proceed pursuant to the

following schedule:
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Date                  Description

September 27, 2022,   Status conference via Zoom videoconference.
at 2:00 p.m.

October 7, 2022       The parties shall file any non-evidentiary pretrial
                      motions, including but not limited to motions to
                      dismiss the case, motions for change of venue, and
                      motions to suppress statements or tangible evidence.

October 28, 2022      The parties shall file oppositions to any such non-
                      evidentiary pretrial motions.

November 4, 2022      The parties shall file any replies in support of any such
                      non-evidentiary pretrial motions.

November 11, 2022     The parties shall file any motions in limine and
                      Daubert motions.

November 17, 2022,    The Court will hear oral argument on all pending non-
at 10:00 a.m.         evidentiary pretrial motions in Courtroom 29 in the
                      William B. Bryant Annex to the E. Barrett Prettyman
                      Courthouse.

November 21, 2022     The parties shall file oppositions to motions in limine
                      and Daubert motions.

November 23, 2022     The parties shall exchange proposed case-in-chief
                      exhibit and witness lists.

November 28, 2022     The parties shall file any replies in support of motions
                      in limine and Daubert motions.

December 5, 2022      The parties shall deliver to the Court two sets of
                      exhibit lists and pre-marked exhibits.
                      The parties shall provide to the Court any stipulations
                      executed or anticipated to be executed.
                      The parties shall file, if necessary, proposed jury
                      instructions, voir dire questions, and a jury verdict
                      form.

December 7, 2022,     The Court will hear oral argument on all pending
at 10:00 a.m.         motions in limine and Daubert motions in
                      Courtroom 29.
                      Final pretrial conference in Courtroom 29.



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       December 12, 2022,   Trial will commence in Courtroom 29 with opening
       at 10:00 a.m.        statements and will continue each weekday at 10:00
                            a.m. until concluded.

                                                                    Digitally signed by
            SO ORDERED.                                             Paul L. Friedman
                                                                    Date: 2022.09.09
                                                                    13:45:30 -04'00'
                                                     ___________________________
                                                     PAUL L. FRIEDMAN
                                                     United States District Judge

DATE: September 9, 2022




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